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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND

  Association of Rhode Island Authors, et al.
  Plaintiff,
  v.                                                 Case No.: 1:19−cv−00265−WES−PAS

  Neena S. Savage, et al.
  Defendant.


                                 CASE OPENING NOTICE

          The above−captioned case has been opened pursuant to Rule 3 of the Federal
  Rules of Civil Procedure. The above case number and caption should be used on all
  papers subsequently submitted to this Court.
           The plaintiff is responsible for having the summons and complaint served within
  the time allowed by Fed. R. Civ. P. 4(m). If not already filed with the complaint, the
  plaintiff should file a completed summons with the Clerk of Court for signature and seal.
          Unless service is waived, proof of service of a summons must be filed with the
  Court within 14 days after service as outlined in LR Cv 5.1(a). Failure to do so may result
  in dismissal for lack of diligent prosecution. See: LR Cv 41.
          Counsel representing a nongovernmental corporate party must file a corporate
  disclosure statement with first document filed with the Court, and properly file a
  supplemental statement if any required information changes. See: Fed. R. Civ. P. 7.1.
           Parties are encouraged to exchange disclosures immediately and to commence
  discovery. A case management scheduling conference will be set as soon as practicable
  after an answer is filed.
          Dockets, opinions, rules forms, the court calendar and general notices can be
  obtained from the Courtr's website at www.rid.uscourts.gov. Parties should specifically
  review the notice(s) listed below:

            Notice of Electronic Availability of Case Information
            Notice to Counsel and Pro Se Litigants
            Guidance Regarding Motions to Seal in Civil Cases
        If you wish to inquire about your case by telephone, please contact the case
  manager at the direct extension listed below.
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  May 7, 2019                               Hanorah Tyer−Witek, Clerk of Court


  U.S. District Court
  for the District of Rhode Island
  One Exchange Terrace
  Providence, RI 02903
  Case Manager: Ryan Jackson 401−752−7213
